     Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 1 of 33




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14
                             UNITED STATES DISTRICT COURT
15
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                    OAKLAND DIVISION
17
     IN RE APPLE IPHONE ANTITRUST                 Case No. 4:11-cv-06714-YGR
18   LITIGATION
19                                            )
20   DONALD R. CAMERON, et al.,               )   No. 4:19-cv-03074-YGR
     Plaintiffs,                              )
21   v.                                       )   MOTION TO VACATE AND [PROPOSED]
     APPLE INC.                               )   ORDERS ENTERING SUPPLEMENTAL
22                                            )   PROTECTIVE ORDERS
     Defendant.
23                                            )
                                              )   The Honorable Yvonne Gonzalez Rogers
24   Defendant.                               )
     EPIC GAMES, INC.,                        )   No. 4:20-cv-05640-YGR-TSH
25   Plaintiff,                               )
26   v.                                       )
     APPLE INC.,                              )
27   Defendant.                               )
28
     MOTION TO VACATE AND [PROPOSED] ORDERS ENTERING SUPPLEMENTAL PROTECTIVE
                                      ORDERS
                       Case Nos.: 11-cv-06714-YGR; 19-cv-03074-YGR; 20-cv-05640-YGR
       Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 2 of 33




 1            On April 30, 2021, Consumer Plaintiffs filed an Administrative Motion for Entry of
 2   Supplemental Protective Orders (the “Original Supplemental Protective Orders”) on behalf of four
 3   third-party app developers (Zynga, Inc.; Niantic, Inc.; The Walt Disney Company; and Electronic
 4   Arts, Inc.). See Case No. 4:11-cv-06714-YGR at Dkt. 435; Case No. 4:19-cv-03074-YGR at Dkt.
 5   323; and Case No. 4:20-cv-05640-YGR at Dkt. 562. Apple subsequently met and conferred with
 6   each of these third-party app developers and was able to reach an agreement with each for entry of
 7   Supplemental Protective Orders (the “Revised Supplemental Protective Orders”). Apple
 8   submitted filings containing the Revised Supplemental Protective Orders. See Case No. 4:11-cv-
 9   06714-YGR at Dkts. 437, 438 (Exhibits A and B) and 439 (referencing Dkt. 438 Exhibits D and
10   F); Case No. 4:19-cv-03074-YGR at Dkts. 327, 328 (Exhibits A and B) and 329 (referencing Dkt.
11   328 Exhibits D and F).
12            On June 25, 2021, the following Supplemental Protective Orders were entered by the
13   Court:
14                •   4:11-cv-06714-YGR - Dkts. 460, 461, 462, 463
15                •   4:19-cv-03074-YGR - Dkts. 354, 355, 356, 357
16                •   4:20-cv-05640-YGR - Dkts. 798, 799, 800, 801
17   These Supplemental Protective Orders that were entered appear to be the same as the Original
18   Supplemental Protective Orders, not the Revised Supplemental Protective Orders, which were
19   agreed to by the parties and interested non-parties.
20            Because the parties and interested non-parties have been able to reach an agreement on
21   these proposed supplemental protective orders, Apple respectfully requests that the Court vacate
22   the Supplemental Protective Orders entered at:
23                •   4:11-cv-06714-YGR - Dkts. 460, 461, 462, 463
24                •   4:19-cv-03074-YGR - Dkts. 354, 355, 356, 357
25                •   4:20-cv-05640-YGR - Dkts. 798, 799, 800, 801
26            Apple also respectfully requests that the Court enter the Revised Supplemental Protective
27   Orders which have been reattached here as Exhibit A (Zynga, Inc.), Exhibit B (Niantic, Inc.),
28   Exhibit C (The Walt Disney Company), and Exhibit D (Electronic Arts, Inc.).

      MOTION TO VACATE AND [PROPOSED] ORDERS ENTERING SUPPLEMENTAL PROTECTIVE
                                       ORDERS
                              Case Nos.: 11-cv-06714-YGR; 19-cv-03074-YGR; 20-cv-05640-YGR
                                                         -2-
       Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 3 of 33




 1          Consumer and Developer Plaintiffs consent to this Motion to Vacate and Proposed Orders
 2   Entering Supplemental Protective Orders.
 3
     Dated: November 18, 2021                              GIBSON, DUNN & CRUTCHER LLP
 4
                                                           By: /s/ Ethan Dettmer
 5
                                                           Theodore J. Boutrous, Jr.
 6
                                                           Richard J. Doren
 7                                                         Daniel G. Swanson
                                                           Veronica S. Lewis
 8                                                         Cynthia E. Richman
 9                                                         Jay P. Srinivasan
                                                           Ethan Dettmer
10                                                         Eli M. Lazarus
11                                                         Attorneys for Defendant Apple Inc.

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      MOTION TO VACATE AND [PROPOSED] ORDERS ENTERING SUPPLEMENTAL PROTECTIVE
                                       ORDERS
                          Case Nos.: 11-cv-06714-YGR; 19-cv-03074-YGR; 20-cv-05640-YGR
                                                     -3-
Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 4 of 33




                         EXHIBIT A
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 5 of 33



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 7
     Interim Class Counsel for the
 8   Consumer Plaintiffs

 9                               UNITED STATES DISTRICT COURT
10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                       OAKLAND DIVISION

12   IN RE APPLE iPHONE ANTITRUST                       Case No. 4:11-cv-06714-YGR-TSH
     LITIGATION
13                                                      [PROPOSED] SUPPLEMENTAL
                                                        PROTECTIVE ORDER GOVERNING
14                                                      DISCOVERY FROM ZYNGA, INC.
15                                                      Hon. Yvonne Gonzalez Rogers
16   DONALD R. CAMERON, et al.,
                                                        Case No. 4:19-cv-03074-YGR
17                 Plaintiffs,

18          v.

19   APPLE INC.,

20                 Defendant.

21   EPIC GAMES, INC., et al.,                          Case No. 4:20-cv-05640-YGR
22                 Plaintiff, Counter-defendant,

23          v.

24   APPLE INC.,

25                 Defendant, Counterclaimant.

26
27

28

                                                       [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                             GOVERNING DISCOVERY FROM ZYNGA, INC.
                           Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 6 of 33



 1          Having considered Consumer Plaintiffs’ Administrative Motion for Entry of Supplemental

 2   Protective Orders and any opposition(s) filed in response thereto, and good cause appearing, the

 3   Court hereby grants the motion and enters the following order:

 4          A.        GENERAL PROVISIONS

 5          1.        The definitions, terms and provisions contained in the Stipulated Amended

 6   Protective Order on January 21, 2021 (Case No. 4:11-cv-06714-YGR, Dkt. No. 381; Case No.

 7   4:19-cv-03074-YGR, Dkt. No. 252) (the “Protective Order”) shall be incorporated herein by

 8   reference as though fully set forth herein; provided, however, that in the event of a conflict between

 9   any definition, term or provision of this Supplemental Protective Order and any definition, term or
10   provision of the Protective Order, this Supplemental Protective Order will control with respect to

11   such conflict.

12          2.        The definitions, terms and provisions contained in this Supplemental Protective

13   Order shall apply only to those Discovery Materials produced by Zynga1, and nothing herein shall

14   provide any rights or protections to the Parties to the Litigations2 beyond those set forth in the

15   Protective Order.

16          B.        ADDITIONAL DEFINITIONS

17          1.        Business Consultant: a consultant advising on or involved in competitive decision-

18   making.

19          2.        Party: A named Plaintiff or Defendant in the Litigations; but not any other
20   individuals or entities listed on the docket, including those variously listed as “Interested Party”

21   “Respondent” or “Miscellaneous”.

22          3.        Party Expert: with respect to “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE

23   COUNSEL EYES ONLY”, a person with specialized knowledge or experience in a matter

24

25   1
             The term “Zynga” shall include any entity that responds to subpoenas served on Zynga Inc.
     in the Litigations. References to “competitors” within this Supplemental Protective Order shall be
26   interpreted to mean competitors of Zynga Inc. and its parents and subsidiaries.
     2
             Litigations shall mean In re Apple iPhone Antitrust Litigation, Case No. 4:11-cv-06714-
27   YGR; Cameron v. Apple Inc., Case No. 4:19-cv-03074-YGR; and Epic Games, Inc. v. Apple Inc.,
     Case No. 4:20-cv-05640.
28
                                                          1
                                                          [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                                GOVERNING DISCOVERY FROM ZYNGA, INC.
                              Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 7 of 33



 1   pertinent to the Litigations who: (1) has been retained by a Party or its counsel to serve as an expert

 2   witness or as a consultant in this action; (2) is not a current employee or current Business

 3   Consultant of a Party, Zynga, or of any Zynga competitor, or otherwise currently involved in

 4   competitive decision-making for a Party, Zynga, or for any Zynga competitor; (3) has not been a

 5   past employee or Business Consultant of a Party, Zynga, or Zynga’s competitor, or otherwise been

 6   involved in competitive decision-making for a Party, Zynga, or Zynga’s competitor; and (4) at the

 7   time of retention, is not anticipated to become an employee or Business Consultant of a Party,

 8   Zynga, or of any Zynga competitor, or to be otherwise involved in competitive decision-making for

 9   a Party, Zynga, or for any Zynga competitor. If, while this action is pending, a Party learns that any
10   of its retained experts or consultants as defined herein is anticipating to become, or has become, an

11   employee or Business Consultant of a Party, Zynga, or any Zynga competitor, or otherwise

12   involved in competitive decision-making for a Party, Zynga, or any Zynga competitor, the Party

13   learning such information shall promptly disclose the information to Zynga.

14          4.      “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”

15   Information or Items: “Confidential Information or Items” produced by Zynga, that contains the

16   following types of extremely sensitive information—algorithms and source code; non-public,

17   commercially sensitive customer lists or communications; non-public financial, marketing, or

18   strategic business planning information; non-public information regarding prices, costs, margins, or

19   other financial metrics; information relating to research, development, maintenance, improvement,
20   testing of, or plans for existing or proposed future products; non-public information concerning

21   Zynga’s data protection practices or security protocols; evaluation of the strengths or vulnerabilities

22   of Zynga’s product offerings, including non-public pricing and cost information; confidential

23   contractual terms, proposed contractual terms, or negotiating positions (including internal

24   deliberations about negotiating positions) taken with respect to Zynga, Zynga’s partners and

25   affiliates, or competitors to Zynga; information relating to pending or abandoned patent

26   applications that have not been made available to the public; confidential submissions to
27   governmental entities describing Zynga’s legal positions or theories; personnel files; sensitive

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                                                        2
                                                        [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                               GOVERNING DISCOVERY FROM ZYNGA INC.
                            Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 8 of 33



 1   personally identifiable information; commercially sensitive information about advertising including

 2   financial metrics, contracts, platforms use, performance, methodology, strategy, or otherwise

 3   commercially sensitive advertising information; commercially sensitive information about cloud

 4   computing resources provided either by Zynga or a third-party provider, including historical or

 5   forward-looking analyses and projections, pricing structures or financial metrics, usage metrics,

 6   infrastructure, or contracts; commercially sensitive information about licensing, royalties, and fees

 7   to acquire content or intellectual property; and communications that disclose any such information.

 8          C.       ADDITIONAL PROTECTIONS FOR ACCESS TO AND USE OF ZYNGA

 9                   PROTECTED MATERIALS
10          1.       Manner of Designating “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE

11   COUNSEL EYES ONLY” Information or Items. Designation in conformity with this Supplemental

12   Protective Order requires:

13                          (a)     for information in documentary form (e.g., paper or electronic

14   documents, but excluding transcripts of depositions or other pretrial or trial proceedings), that

15   Zynga affix the legend “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

16   ONLY” to each page of any document for which Zynga seeks protection under this Supplemental

17   Protective Order. If only a portion or portions of the material on a page qualifies for protection,

18   Zynga also must clearly identify the protected portion(s) (e.g., by making appropriate markings in

19   the margins).
20                   If Zynga makes original documents or materials available for inspection, it need not

21   designate them for protection until after the inspecting Party has indicated which material it would

22   like copied and produced. During the inspection and before the designation, all of the material

23   made available for inspection shall be deemed “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE

24   COUNSEL EYES ONLY.” After the inspecting Party has identified the documents it wants copied

25   and produced, Zynga must determine which documents, or portions thereof, qualify for protection

26   under this Supplemental Protective Order. Then, before producing the specified documents, Zynga
27   must affix the appropriate legend (“ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

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                                                        3
                                                        [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                               GOVERNING DISCOVERY FROM ZYNGA INC.
                            Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 9 of 33



 1   EYES ONLY”) to each page that contains such material. If only a portion or portions of the

 2   material on a page qualifies for protection, Zynga also must clearly identify the protected portion(s)

 3   (e.g., by making appropriate markings in the margins.)

 4                          (b)     for testimony given in deposition or in other pretrial proceedings not

 5   involving the court, that Zynga identify on the record, before the close of the deposition, hearing, or

 6   other proceeding, all protected testimony. When it is impractical to identify separately each portion

 7   of testimony that is entitled to protection and it appears that substantial portions of the testimony

 8   may qualify for protection, Zynga may invoke on the record (before the deposition, hearing, or

 9   other proceeding is concluded) a right to have up to 21 days to identify the specific portions of the
10   testimony as to which protection is sought. Only those portions of the testimony that are

11   appropriately designated for protection within the 21 days shall be covered by the provisions of this

12   Supplemental Protective Order. Alternatively, Zynga may specify, at the deposition or up to 21

13   days afterwards if that period is properly invoked, that the entire transcript shall be treated as

14   “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” With respect to

15   trial, Zynga can petition the Court for appropriate protective measures which shall be requested in

16   advance of evidence being taken.

17                  Zynga and the Parties shall give the other parties notice if they reasonably expect a

18   deposition, hearing, or other proceeding to include “ZYNGA HIGHLY CONFIDENTIAL –

19   OUTSIDE COUNSEL EYES ONLY” Information or Items so that the other parties can ensure that
20   only authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

21   (Exhibit A to the Protective Order) are present at those proceedings. The use of a document as an

22   exhibit at a deposition shall not in any way affect its designation as “ZYNGA HIGHLY

23   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.”

24                  Transcripts containing “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE

25   COUNSEL EYES ONLY” Information or Items shall have an obvious legend on the title page that

26   the transcript contains such material, and the title page shall be followed by a list of all pages
27   (including line numbers as appropriate) that have been designated as “ZYNGA HIGHLY

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                                                         4
                                                         [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                                GOVERNING DISCOVERY FROM ZYNGA INC.
                             Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 10 of 33



 1   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”. Zynga shall inform the court reporter

 2   of these requirements. Any transcript that is prepared before the expiration of a 21-day period for

 3   designation shall be treated during that period as if it had been designated “ZYNGA HIGHLY

 4   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” in its entirety unless otherwise agreed.

 5   After the expiration of that period, the transcript shall be treated only as actually designated.

 6                          (c)     for information produced in some form other than documentary and

 7   for any other tangible items, that Zynga affix in a prominent place on the exterior of the container

 8   or containers in which the information or item is stored the legend “ZYNGA HIGHLY

 9   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” If only a portion or portions of the
10   information or item warrant protection, Zynga, to the extent practicable, shall identify the protected

11   portion(s).

12          2.      Disclosure of “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

13   EYES ONLY” Information or Items. Nothing in this Supplemental Protective Order shall prohibit

14   Zynga from choosing to disclose information to specific individuals or entities, including expert

15   witnesses, at its own discretion. Unless otherwise ordered by the Court or permitted in writing by

16   Zynga, a Party may disclose any information or item designated “ZYNGA HIGHLY

17   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” only to:

18                          (a)     the Party’s Outside Counsel of Record in this action, as well as

19   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
20   information for these Litigations and who have signed the “Acknowledgement and Agreement to

21   be Bound” that is attached to the Protective Order as Exhibit A;

22                          (b)     Designated House Counsel of the Party, but only in the event that (i)

23   information designated “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

24   ONLY” is incorporated into and necessary to a Party’s work product that is to be filed or served in

25   these Litigations; (ii) the Party discloses to Zynga the relevant excerpts from the work product that

26   include the information designated “ZYNGA HIGH CONFIDENTIAL – OUTSIDE COUNSEL
27   EYES ONLY” prior to disclosure to Designated House Counsel of the Party; (iii) the Party

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                                                         5
                                                         [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                                GOVERNING DISCOVERY FROM ZYNGA INC.
                             Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 11 of 33



 1   identifies by name and job title the Designated House Counsel with whom such work product will

 2   be shared for the purpose of reviewing and approving the work product in advance of filing or

 3   service; and (iv) Zynga provides consent to the disclosure, which shall not unreasonably be

 4   withheld;

 5                          (c)      Party Experts (as defined in this Supplemental Protective Order) (1)

 6   to whom disclosure is reasonably necessary for these Litigations and (2) who have signed the

 7   “Acknowledgment and Agreement to Be Bound” (Exhibit A to the Protective Order);

 8                          (d)      the Court and its personnel;

 9                          (e)      court reporters and their staff, professional jury or trial consultants,
10   and Professional Vendors to whom disclosure is reasonably necessary for these Litigations and who

11   have signed the “Acknowledgment and Agreement to be Bound” (Exhibit A to the Protective

12   Order); and

13                          (f)      the author or recipient of a document containing the information.

14          3.       Any Party disclosing any information or item for which an “Acknowledgement and

15   Agreement to be Bound” (Exhibit A to the Protective Order) is required shall collect and maintain a

16   copy of each executed form and promptly provide them to Zynga upon Zynga’s request. Zynga will

17   not disclose the identity of any expert who has signed the “Acknowledgement and Agreement to be

18   Bound” without first obtaining the consent of the party that retained the expert or, alternatively,

19   authorization from the Court.
20          4.       In light of the close of discovery in Epic Games, Inc. v. Apple Inc., Case No. 4:20-

21   cv-05640, Dkt. No. 116, any discovery produced by Zynga in In re Apple iPhone Antitrust

22   Litigation and Cameron v. Apple Inc. (Case No. 4:11-cv-06714-YGR) or (Case No. 4:19-cv-03074-

23   YGR) and designated either “CONFIDENTIAL” or “ZYNGA HIGHLY CONFIDENTIAL –

24   OUTSIDE COUNSEL EYES ONLY” shall not be produced in or used at trial in Epic Games, Inc.

25   v. Apple Inc.

26          5.       If additional named plaintiffs are joined in Cameron v. Apple Inc. Case No. 4:19-cv-
27   03074-YGR, the existing named Plaintiffs in that matter—Donald R. Cameron and Pure Sweat

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                                                         6
                                                         [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                                GOVERNING DISCOVERY FROM ZYNGA INC.
                             Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 12 of 33



 1   Basketball, Inc.—shall notify Zynga. Zynga shall have reasonable opportunity to seek further

 2   protective orders and object to sharing of any discovery produced by Zynga and designated either

 3   “CONFIDENTIAL” or “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

 4   ONLY” as to the new named Plaintiffs.

 5          6.      All other provisions of the Protective Order, including Paragraphs 2, 3, 4, 5.3, 6, 7.1,

 6   9, 10, 11, 12, 13, and 14 apply mutatis mutandis to information designated “ZYNGA HIGHLY

 7   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” to the same extent as they apply to

 8   information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”; except

 9   that the provision in Paragraph 3 of the Protective Order providing that any use of Protected
10   Material at trial shall be governed by a separate agreement or order shall not apply to information

11   designated “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”. Unless

12   otherwise ordered by the Court or expressly permitted by Zynga, no Party seeking to introduce

13   documents or information designated “ZYNGA HIGHLY CONFIDENTIAL – OUTSIDE

14   COUNSEL EYES ONLY” into the record at trial may disclose the materials to any persons other

15   than those identified in Paragraph C.2. of this Supplemental Protective Order.

16          IT IS SO ORDERED.

17

18
     DATED: November _____, 2021
19
                                              HON. YVONNE GONZALEZ ROGERS
20                                            United States District Judge
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                                                        7
                                                        [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                               GOVERNING DISCOVERY FROM ZYNGA INC.
                            Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 13 of 33




                         EXHIBIT B
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 14 of 33



 1   BETSY C. MANIFOLD (182450)
     RACHELE R. BYRD (190634)
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     manifold@whafh.com
 6   byrd@whafh.com
     dejong@whafh.com
 7
     Consumer Plaintiffs’ Interim Class Counsel
 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                         OAKLAND DIVISION
11
     IN RE APPLE IPHONE ANTITRUST                       Case No. 4:11-cv-06714-YGR-TSH
12   LITIGATION
                                                        [PROPOSED] SUPPLEMENTAL
13                                                      PROTECTIVE ORDER GOVERNING
                                                        DISCOVERY FROM NIANTIC, INC.
14
                                                        Hon. Yvonne Gonzalez Rogers
15
     DONALD R. CAMERON, et al.,
16                                                      Case No. 4:19-cv-03074-YGR-TSH
                   Plaintiffs,
17
            v.
18
     APPLE INC.,
19
                   Defendant.
20
     EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
21
                   Plaintiff and Counter-defendant,
22
            v.
23
     APPLE INC.,
24
                   Defendant and Counterclaimant.
25

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27

28

                                           [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                         DISCOVERY FROM NIANTIC, INC.
                           Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 15 of 33



 1          Having considered Consumer Plaintiffs’ Administrative Motion for Entry of Supplemental

 2   Protective Orders and any opposition(s) filed in response thereto, and good cause appearing, the

 3   Court hereby grants the motion and enters the following order:

 4          A.        GENERAL PROVISIONS

 5          1.        The definitions, terms and provisions contained in the Stipulated Amended

 6   Protective 6 Order on January 21, 2021 (Case No. 4:11-cv-06714-YGR, Dkt. No. 381; Case No.

 7   4:19-cv-03074-YGR, Dkt. No. 252) (the “Protective Order”) shall be incorporated herein by

 8   reference as though fully set forth herein; provided, however, that in the event of a conflict between

 9   any definition, term or provision of this Supplemental Protective Order and any definition, term or
10   provision of the Protective Order, this Supplemental Protective Order will control with respect to

11   such conflict.

12          2.        The definitions, terms and provisions contained in this Supplemental Protective

13   Order shall apply only to those Discovery Materials produced by Niantic1, and nothing herein shall

14   provide any rights or protections to the Parties to the Litigations2 beyond those set forth in the

15   Protective Order.

16          B.        ADDITIONAL DEFINITIONS

17          1.        Business Consultant: a consultant advising on or involved in competitive decision-

18   making.

19          2.        Party Expert: with respect to “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE
20   COUNSEL EYES ONLY,” a person with specialized knowledge or experience in a matter

21   pertinent to the Litigations who: (1) has been retained by a Party or its counsel to serve as an expert

22   witness or as a consultant in this action; (2) is not a current employee or current Business

23   Consultant of a Party, Niantic, or of any Niantic competitor, or otherwise currently involved in

24

25   1
              The term “Niantic” shall include any entity that responds to subpoenas served on Niantic,
     Inc. in the Litigations. References to “competitors” within this Supplemental Protective Order shall
26   be interpreted to mean competitors of Niantic, Inc. and its subsidiaries.
     2
              Litigations shall mean In re Apple iPhone Antitrust Litigation, Case No. 4:11-cv-06714-
27   YGR; Cameron v. Apple Inc., Case No. 4:19-cv-03074-YGR; and Epic Games, Inc. v. Apple Inc.;
     Case No. 4:20-cv-05640.
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                                                         1
                                             [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                           DISCOVERY FROM NIANTIC, INC.
                             Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 16 of 33



 1   competitive decision- making for a Party, Niantic, or for any Niantic competitor; (3) has not, within

 2   the 12 months preceding the entry of this Protective Order, been an employee or Business

 3   Consultant of a Party, Niantic, or Niantic’s competitor, or otherwise been involved in competitive

 4   decision-making for a Party, Niantic, or Niantic’s competitor; and (4) at the time of retention, is not

 5   anticipated to become an employee or Business Consultant of a Party, Niantic, or of any Niantic

 6   competitor, or to be otherwise involved in competitive decision-making for a Party or for any

 7   Niantic competitor. If, while this action is pending, a Party learns that any of its retained experts or

 8   consultants as defined herein is anticipating to become, or has become, an employee or Business

 9   Consultant of Niantic or any Niantic competitor, or otherwise involved in competitive decision-
10   making for Niantic or any Niantic competitor, the Party learning such information shall promptly

11   disclose the information to Niantic.

12          3.      “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”

13   Information or Items: extremely sensitive “Confidential Information or Items” produced by Niantic

14   and that contain algorithms and source code; non-public, commercially sensitive customer lists or

15   communications; non-public financial, marketing, or strategic business information; current or

16   future non-public information regarding prices, costs, margins, or other financial metrics;

17   information relating to research, development, testing of, or plans for existing or proposed future

18   products; non-public information concerning Niantic’s data protection practices and security

19   protocols or other matters related to data security or privacy; evaluation of the strengths and
20   vulnerabilities of Niantic’s product offerings, including non-public pricing and cost information;

21   confidential contractual terms, proposed contractual terms, or negotiating positions (including

22   internal deliberations about negotiating positions) taken with respect to Niantic or competitors to

23   Niantic; non-public intellectual property information; information relating to pending or abandoned

24   patent applications that have not been made available to the public; confidential submissions to

25   governmental entities describing Niantic’s legal positions or theories or other matters; personnel

26   files; sensitive personally identifiable information; and communications that disclose any such
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                                                        2
                                             [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                         DISCOVERY FROM NIANTIC, INC.
                          Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 17 of 33



 1   information, disclosure of which to a Party or another Non- Party would create a substantial risk of

 2   serious harm that could not be avoided by less restrictive means.

 3          C.       ADDITIONAL PROTECTIONS FOR ACCESS TO AND USE OF NIANTIC

 4                   PROTECTED MATERIALS

 5          1.       Manner of Designating “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE

 6   COUNSEL EYES ONLY” Information or Items. Designation in conformity with this Supplemental

 7   Protective Order requires:

 8                          (a)     for information in documentary form (e.g., paper or electronic

 9   documents, but excluding transcripts of depositions or other pretrial or trial proceedings), that
10   Niantic affix the legend “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

11   ONLY” to each page of any document for which Niantic seeks protection under this Supplemental

12   Protective Order. If only a portion or portions of the material on a page qualifies for protection,

13   Niantic also must clearly identify the protected portion(s) (e.g., by making appropriate markings in

14   the margins).

15                   If Niantic makes original documents or materials available for inspection, it need not

16   designate them for protection until after the inspecting Party has indicated which material it would

17   like copied and produced. During the inspection and before the designation, all of the material

18   made available for inspection shall be deemed “NIANTIC HIGHLY CONFIDENTIAL –

19   OUTSIDE COUNSEL EYES ONLY.” After the inspecting Party has identified the documents it
20   wants copied and produced, Niantic must determine which documents, or portions thereof, qualify

21   for protection under this Supplemental Protective Order. Then, before producing the specified

22   documents, Niantic must affix the appropriate legend (“NIANTIC HIGHLY CONFIDENTIAL –

23   OUTSIDE COUNSEL EYES ONLY”) to each page that contains such material. If only a portion or

24   portions of the material on a page qualifies for protection, Niantic also must clearly identify the

25   protected portion(s) (e.g., by making appropriate markings in the margins).

26                          (b)     for testimony given in deposition or in other pretrial proceedings not
27   involving the Court, that Niantic identify on the record, before the close of the deposition, hearing,

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                                                        3
                                             [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                         DISCOVERY FROM NIANTIC, INC.
                          Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 18 of 33



 1   or other proceeding, all protected testimony. When it is impractical to identify separately each

 2   portion of testimony that is entitled to protection and it appears that substantial portions of the

 3   testimony may qualify for protection, Niantic may invoke on the record (before the deposition,

 4   hearing, or other proceeding is concluded) a right to have up to 21 days to identify the specific

 5   portions of the testimony as to which protection is sought. Only those portions of the testimony that

 6   are appropriately designated for protection within the 21 days shall be covered by the provisions of

 7   this Supplemental Protective Order. Alternatively, Niantic may specify, at the deposition or up to

 8   21 days afterwards if that period is properly invoked, that the entire transcript shall be treated as

 9   “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” With respect to
10   trial, Niantic can petition the Court for appropriate protective measures which shall be requested in

11   advance of evidence being taken.

12                  Niantic and the Parties shall give the other parties notice if they reasonably expect a

13   deposition, hearing, or other proceeding to include “NIANTIC HIGHLY CONFIDENTIAL –

14   OUTSIDE COUNSEL EYES ONLY” Information or Items so that the other parties can ensure that

15   only authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

16   (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

17   shall not in any way affect its designation as “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE

18   COUNSEL EYES ONLY.”

19                  Transcripts containing “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE
20   COUNSEL EYES ONLY” Information or Items shall have an obvious legend on the title page that

21   the transcript contains such material, and the title page shall be followed by a list of all pages

22   (including line numbers as appropriate) that have been designated as “NIANTIC HIGHLY

23   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”. Niantic shall inform the court reporter

24   of these requirements. Any transcript that is prepared before the expiration of a 21-day period for

25   designation shall be treated during that period as if it had been designated “NIANTIC HIGHLY

26   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” in its entirety unless otherwise agreed.
27   After the expiration of that period, the transcript shall be treated only as actually designated.

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                                                        4
                                             [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                         DISCOVERY FROM NIANTIC, INC.
                          Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 19 of 33



 1                           (c)    for information produced in some form other than documentary and

 2   for any other tangible items, that Niantic affix in a prominent place on the exterior of the container

 3   or containers in which the information or item is stored the legend “NIANTIC HIGHLY

 4   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” If only a portion or portions of the

 5   information or item warrant protection, Niantic, to the extent practicable, shall identify the

 6   protected portion(s).

 7          2.      Disclosure of “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

 8   EYES ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in writing

 9   by Niantic, a Party may disclose any information or item designated “NIANTIC HIGHLY
10   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” only to:

11                           (a)    the Party’s Outside Counsel of Record in this action, as well as

12   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

13   information for these Litigations and who have signed the “Acknowledgement and Agreement to

14   be Bound” that is attached to the Protective Order as Exhibit A;

15                           (b)    Designated House Counsel of the Party, but only in the event that (i)

16   information designated “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

17   ONLY” is incorporated into and necessary to a Party’s work product that is to be filed or served in

18   these Litigations; (ii) the Party discloses to Niantic the relevant excerpts from the work product that

19   include the information designated “NIANTIC HIGH CONFIDENTIAL – OUTSIDE COUNSEL
20   EYES ONLY” prior to disclosure to Designated House Counsel of the Party; (iii) the Party

21   identifies by name and job title the Designated House Counsel, which shall be limited to two Apple

22   litigation attorneys with primary responsibility for overseeing these litigations, with whom such

23   work product will be shared for the purpose of reviewing and approving the work product in

24   advance of filing or service; and (iv) Niantic provides consent to the disclosure, which shall not

25   unreasonably be withheld;

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                                                        5
                                             [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                         DISCOVERY FROM NIANTIC, INC.
                          Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 20 of 33



 1                          (c)     Party Experts (as defined in this Supplemental Protective Order) (1)

 2   to whom disclosure is reasonably necessary for these Litigations and (2) who have signed the

 3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 4                          (d)     the Court and its personnel;

 5                          (e)     court reporters and their staff, professional jury or trial consultants,

 6   and Professional Vendors to whom disclosure is reasonably necessary for these Litigations and who

 7   have signed the “Acknowledgment and Agreement to be Bound” (Exhibit A); and

 8                          (f)     the author or recipient of a document containing the information.

 9          3.       In light of the close of discovery in Epic Games, Inc. v. Apple Inc., Case No. 4:20-
10   cv-05640, Dkt. No. 116, any discovery produced by Niantic in In re Apple iPhone Antitrust

11   Litigation and Cameron v. Apple Inc. (Case No. 4:11-cv-06714-YGR) or (Case No. 4:19-cv-03074-

12   YGR) and designated either “CONFIDENTIAL” or “NIANTIC HIGHLY CONFIDENTIAL –

13   OUTSIDE COUNSEL EYES ONLY” shall not be produced in or used at trial in Epic Games, Inc.

14   v. Apple Inc.

15          4.       If additional named plaintiffs are joined in Cameron v. Apple Inc. Case No. 4:19-cv-

16   03074-YGR, the existing named Plaintiffs in that matter—Donald R. Cameron and Pure Sweat

17   Basketball, Inc.—shall notify Niantic. Niantic shall have reasonable opportunity to seek further

18   protective orders and object to sharing of any discovery produced by Niantic and designated either

19   “CONFIDENTIAL” or “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES
20   ONLY” as to the new named Plaintiffs.

21          All other provisions of the Protective Order, including Paragraphs 2, 3, 4, 5.3, 6, 7.1, 9, 10,

22   11, 12, 13, and 14 apply mutatis mutandis to information designated “NIANTIC HIGHLY

23   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” to the same extent as they apply to

24   information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”; except

25   that the provision in Paragraph 3 of the Protective Order providing that any use of Protected

26   Material at trial shall be governed by a separate agreement or order shall not apply to information
27   designated “NIANTIC HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.”

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                                                        6
                                             [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                         DISCOVERY FROM NIANTIC, INC.
                          Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 21 of 33



 1   Unless otherwise ordered by the Court or expressly permitted by Niantic, no Party seeking to

 2   introduce documents or information designated “NIANTIC HIGHLY CONFIDENTIAL –

 3   OUTSIDE COUNSEL EYES ONLY” into the record at trial may disclose the materials to any

 4   persons other than those identified in Paragraph C.2. of this Supplemental Protective Order.

 5          IT IS SO ORDERED.

 6

 7
     DATED: November _____, 2021
 8
                                             HON. YVONNE GONZALEZ ROGERS
 9                                           United States District Court Judge
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                                            [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING
                                                                        DISCOVERY FROM NIANTIC, INC.
                         Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 22 of 33




                              EXHIBIT C
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 23 of 33



 1   BETSY C. MANIFOLD (182450)
     RACHELE R. BYRD (190634)
 2   BRITTANY N. DEJONG (258766)
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 5   Facsimile:     619/234-4599
     manifold@whafh.com
 6   byrd@whafh.com
     dejong@whafh.com
 7
     Consumer Plaintiffs’ Interim Class Counsel
 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                         OAKLAND DIVISION
11
     IN RE APPLE IPHONE ANTITRUST                       Case No. 4:11-cv-06714-YGR-TSH
12   LITIGATION
                                                        [PROPOSED] SUPPLEMENTAL
13                                                      PROTECTIVE ORDER GOVERNING
                                                        DISCOVERY FROM THE WALT DISNEY
14                                                      COMPANY
15                                                      Hon. Yvonne Gonzalez Rogers
     DONALD R. CAMERON, et al.,
16
                   Plaintiffs,                          Case No. 4:19-cv-03074-YGR-TSH
17
            v.
18
     APPLE INC.,
19
                   Defendant.
20
     EPIC GAMES, INC.,
21                                                      Case No. 4:20-cv-05640-YGR-TSH
                   Plaintiff and Counter-defendant,
22
            v.
23
     APPLE INC.,
24
                   Defendant and Counterclaimant.
25

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                                                       [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                             GOVERNING DISCOVERY FROM THE WALT DISNEY COMPANY
                           Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
          Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 24 of 33



 1          Having considered Consumer Plaintiffs’ Administrative Motion for Entry of Supplemental

 2   Protective Orders and any opposition(s) filed in response thereto, and good cause appearing, the

 3   Court hereby grants the motion and enters the following order:

 4   A.     GENERAL PROVISIONS

 5          1.        The definitions, terms and provisions contained in the Stipulated Amended

 6   Protective Order on January 21, 2021 (Case No. 4:11-cv-06714-YGR, Dkt. No. 381; Case No.

 7   4:19-cv-03074-YGR, Dkt. No. 252) (the “Protective Order”) shall be incorporated herein by

 8   reference as though fully set forth herein; provided, however, that in the event of a conflict between

 9   any definition, term or provision of this Supplemental Protective Order and any definition, term or
10   provision of the Protective Order, this Supplemental Protective Order will control with respect to

11   such conflict.

12          2.        The definitions, terms and provisions contained in this Supplemental Protective

13   Order shall apply only to those Discovery Materials produced by Disney1, and nothing herein shall

14   provide any rights or protections to the Parties to the Litigations2 beyond those set forth in the

15   Protective Order.

16   B.     ADDITIONAL DEFINITIONS

17          1.        Business Consultant: a consultant advising on or involved in competitive decision

18   making.

19          2.        Party Expert: with respect to the “DISNEY HIGHLY CONFIDENTIAL –
20   OUTSIDE COUNSEL EYES ONLY” designation, a person with specialized knowledge or

21   experience in a matter pertinent to the Litigations who: (1) has been retained by a Party or its

22   counsel to serve as an expert witness or as a consultant in the Litigations; (2) is not a current

23   employee or current Business Consultant of a Party, Disney, or any Disney competitor, or

24

25
     1
            Disney shall refer to The Walt Disney Company, Hulu, LLC (“Hulu”), and ESPN
26   Productions, Inc. (“ESPN”). Hulu and ESPN are affiliates of The Walt Disney Company.
     2
            Litigations shall mean In re Apple iPhone Antitrust Litigation, Case No. 4:11-cv-06714-
27   YGR; Cameron v. Apple Inc., Case No: 4:19-cv-03074-YGR; and Epic Games, Inc. v. Apple Inc.,
     Case No. 4:20-cv-05640.
28
                                                     1
                                                         [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                               GOVERNING DISCOVERY FROM THE WALT DISNEY COMPANY
                             Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
          Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 25 of 33



 1   otherwise currently involved in competitive decision-making for a Party, Disney, or any Disney

 2   competitor; (3) has not, within the 12 months preceding the entry of this Protective Order, been an

 3   employee or Business Consultant of a Party, Disney, or any Disney competitor, or otherwise been

 4   involved in competitive decision-making for a Party, Disney, or any Disney competitor; and (4) at

 5   the time of retention, is not anticipated to become an employee or Business Consultant of a Party,

 6   Disney, or any Disney competitor, or to be otherwise involved in competitive decision making for a

 7   Party, Disney, or any Disney competitor. If, while the Litigations are pending, a Party learns that

 8   any of its retained experts or consultants as defined herein is anticipating to become, or has become

 9   an employee or Business Consultant of Disney or any Disney competitor, or otherwise involved in
10   competitive decision-making for Disney or any Disney competitor, the Party learning such

11   information shall promptly disclose the information to Disney.

12          3.      “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”

13   Information or Items: extremely sensitive “Confidential Information or Items” produced by Disney

14   and that contain algorithms and source code; non-public, commercially sensitive customer lists or

15   communications; non-public financial, marketing, or strategic business planning information; past,

16   current, or future non-public information regarding prices, costs, margins, or other financial

17   metrics; information relating to research, development, testing of, or plans for existing or proposed

18   future products; non-public information concerning Disney’s data protection practices and security

19   protocols; evaluation of the strengths and vulnerability of Disney’s product offerings, including
20   non-public pricing and cost information; confidential contractual terms, proposed contractual terms,

21   or negotiating positions (including internal deliberations about negotiating positions) taken with

22   respect to Disney or competitors to Disney; information relating to pending or abandoned patent

23   applications that have not been made available to the public; confidential submissions to

24   governmental entities describing Disney’s legal positions or theories; personnel files; sensitive

25   personally identifiable information; and communications that disclose any such information.

26   C.     ADDITIONAL PROTECTIONS FOR ACCESS TO AND USE OF DISNEY
27          PROTECTED MATERIALS

28
                                                     2
                                                     [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                          GOVERNING DISCOVERY FROM THE WALT DISNEY COMPANY
                       CASE NOS. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 26 of 33



 1          1.      Manner of Designating “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE

 2   COUNSEL EYES ONLY” Information or Items. To qualify for protection as “DISNEY HIGHLY

 3   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY,” Disney must affix the legend

 4   “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” to each page of

 5   any document for which Disney seeks protection under this Supplemental Protective Order.

 6          2.      Disclosure of “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

 7   EYES ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in writing

 8   by Disney, a Party may disclose any information or item designated “DISNEY HIGHLY

 9   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” only to:
10                          (a)    the Party’s Outside Counsel of Record in the Litigations, as well as

11   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

12   information for these Litigations and who have signed the “Acknowledgement and Agreement to

13   be Bound” that is attached to the Protective Order as Exhibit A;

14                          (b)    Designated House Counsel of the Party, but only in the event that (i)

15   information designated “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

16   ONLY” is incorporated into and necessary to a Party’s work product that is to be filed or served in

17   these Litigations; (ii) the Party discloses to Disney the relevant excerpts from the work product that

18   include the information designated “DISNEY HIGH CONFIDENTIAL – OUTSIDE COUNSEL

19   EYES ONLY” prior to disclosure to Designated House Counsel of the Party; (iii) the Party
20   identifies by name and job title the Designated House Counsel with whom such work product will

21   be shared for the purpose of reviewing and approving the work product in advance of filing or

22   service; and (iv) Disney provides consent to the disclosure, which shall not unreasonably be

23   withheld;

24                          (c)    Party Experts (as defined in this Supplemental Protective Order) (1)

25   to whom disclosure is reasonably necessary for these Litigations and (2) who have signed the

26   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
27                          (d)    the Court and its personnel;

28
                                                     3
                                                     [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                          GOVERNING DISCOVERY FROM THE WALT DISNEY COMPANY
                       CASE NOS. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 27 of 33



 1                         (e)     court reporters and their staff, professional jury or trial consultants,

 2   and Professional Vendors to whom disclosure is reasonably necessary for these Litigations and who

 3   have signed the “Acknowledgment and Agreement to be Bound” (Exhibit A); and

 4                         (f)     the author or recipient of a document containing the information.

 5          3.      All other provisions of the Protective Order, including Paragraphs 2, 3, 4, 5.2, 5.3, 6,

 6   7.1, 9, 10, 11, 12, 13, and 14 apply mutatis mutandis to information designated “DISNEY HIGHLY

 7   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” to the same extent as they apply to

 8   information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”; except

 9   that the provision in Paragraph 3 of the Protective Order providing that any use of Protected
10   Material at trial shall be governed by a separate agreement or order shall not apply to information

11   designated “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” Unless

12   otherwise ordered by the Court or expressly permitted by Disney, no Party seeking to introduce

13   documents or information designated “DISNEY HIGHLY CONFIDENTIAL – OUTSIDE

14   COUNSEL EYES ONLY” into the record at trial may disclose the materials to any persons other

15   than those identified in Paragraph C.2. of this Supplemental Protective Order. In the event a Party

16   seeks to introduce documents or information designated “DISNEY HIGHLY CONFIDENTIAL –

17   OUTSIDE COUNSEL EYES ONLY” at trial in a manner that will result in disclosure to persons

18   other than those specified in Paragraph C.2 of this Supplemental Protective Order, the Party shall

19   promptly notify Disney in writing such that Disney may raise any objection
20          IT IS SO ORDERED.

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22
     DATED: November _____, 2021
23
                                              HON. YVONNE GONZALEZ ROGERS
24                                            United States District Court Judge
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                                                     4
                                                     [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                          GOVERNING DISCOVERY FROM THE WALT DISNEY COMPANY
                       CASE NOS. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 28 of 33




                           EXHIBIT D
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 29 of 33



 1   BETSY C. MANIFOLD (182450)
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 7
     Interim Class Counsel for the
 8   Consumer Plaintiffs

 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA

11                                       OAKLAND DIVISION

12   IN RE APPLE IPHONE ANTITRUST                      Case No. 4:11-cv-06714-YGR-TSH
     LITIGATION
13                                                     [PROPOSED] SUPPLEMENTAL
                                                       PROTECTIVE ORDER GOVERNING
14                                                     DISCOVERY FROM ELECTRONIC ARTS
                                                       INC.
15
                                                       Hon. Yvonne Gonzalez Rogers
16   DONALD R. CAMERON, et al.,

17                 Plaintiffs,                         Case No. 4:19-cv-03074-YGR-TSH
18          v.

19   APPLE INC.,

20                 Defendant.

21   EPIC GAMES, INC.,
                                                       Case No. 4:20-cv-03074-YGR-TSH
22                 Plaintiff and Counter-defendant,

23          v.

24   APPLE INC.,

25                 Defendant and Counterclaimant.

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                                                      [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                 GOVERNING DISCOVERY FROM ELECTRONIC ARTS INC.
                        Case Nos. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
         Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 30 of 33



 1          Having considered Consumer Plaintiffs’ Administrative Motion for Entry of Supplemental

 2   Protective Orders and any opposition(s) filed in response thereto, and good cause appearing, the

 3   Court hereby grants the motion and enters the following order:

 4          A.        GENERAL PROVISIONS

 5          1.        The definitions, terms and provisions contained in the Stipulated Amended

 6   Protective Order on January 21, 2021 (Case No. 4:11-cv-06714-YGR, Dkt. No. 381; Case No.

 7   4:19-cv-03074-YGR, Dkt. No. 252) (the “Protective Order”) shall be incorporated herein by

 8   reference as though fully set forth herein; provided, however, that in the event of a conflict between

 9   any definition, term or provision of this Supplemental Protective Order and any definition, term or
10   provision of the Protective Order, this Supplemental Protective Order will control with respect to

11   such conflict.

12          2.        The definitions, terms and provisions contained in this Supplemental Protective

13   Order shall apply only to those Discovery Materials produced by Electronic Arts Inc. (“EA”), and

14   nothing herein shall provide any rights or protections to the Parties to the Litigations1 beyond those

15   set forth in the Protective Order.

16          B.        ADDITIONAL DEFINITIONS

17          1.        Business Consultant: a consultant advising on or involved in competitive decision-

18   making.

19          2.        Party Expert: with respect to the “EA HIGHLY CONFIDENTIAL – OUTSIDE
20   COUNSEL EYES ONLY” designation, a person with specialized knowledge or experience in a

21   matter pertinent to the Litigations who: (1) has been retained by a Party or its counsel to serve as an

22   expert witness or as a consultant in the Litigations; (2) is not a current employee or current

23   Business Consultant of a Party, EA, or any EA competitor, or otherwise currently involved in

24   competitive decision-making for a Party, EA, or any EA competitor; (3) has not, within the 12

25   months preceding the entry of this Protective Order, been an employee or Business Consultant of a

26
     1
27         Litigations shall mean In re Apple iPhone Antitrust Litigation, Case No 4:11-cv-06714-
     YGR; Cameron v. Apple Inc., Case No. 4:19-cv-03074-YGR; and Epic Games, Inc. v. Apple Inc.,
28   Case No. 4:20-cv-05640.
                                                         1
                                                         [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                     GOVERNING DISCOVERY FROM ELECTRONIC ARTS INC.
                             Case Nos. 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH; 4:20-cv-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 31 of 33



 1   Party, EA, or any EA competitor, or otherwise been involved in competitive decision-making for a

 2   Party, EA, or any EA competitor; and (4) at the time of retention, is not anticipated to become an

 3   employee or Business Consultant of a Party, EA, or any EA competitor, or to be otherwise involved

 4   in competitive decision-making for a Party, EA, or any EA competitor. If, while the Litigations are

 5   pending, a Party learns that any of its retained experts or consultants as defined herein is

 6   anticipating to become, or has become, an employee or Business Consultant of EA or any EA

 7   competitor, or otherwise involved in competitive decision-making for EA or any EA competitor,

 8   the Party learning such information shall promptly disclose the information to EA.

 9          3.      “EA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”
10   Information or Items: extremely sensitive “Confidential Information or Items” produced by EA and

11   that contain algorithms and source code; non-public, commercially sensitive customer lists or

12   communications; non-public financial, marketing, or strategic business planning information; past,

13   current, or future non-public information regarding prices, costs, margins, or other financial

14   metrics; information relating to research, development, testing of, or plans for existing or proposed

15   future products; non-public information concerning EA’s data protection practices and security

16   protocols; evaluation of the strengths and vulnerability of EA’s product offerings, including non-

17   public pricing and cost information; confidential contractual terms, proposed contractual terms, or

18   negotiating positions (including internal deliberations about negotiating positions) taken with

19   respect to EA or competitors to EA; information relating to pending or abandoned patent
20   applications that have not been made available to the public; confidential submissions to

21   governmental entities describing EA’s legal positions or theories; personnel files; sensitive

22   personally identifiable information; and communications that disclose any such information.

23          C.      ADDITIONAL PROTECTIONS FOR ACCESS TO AND USE OF EA

24                  PROTECTED MATERIALS

25          1.      Manner of Designating “EA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

26   EYES ONLY” Information or Items. To qualify for protection as “EA HIGHLY CONFIDENTIAL
27   – OUTSIDE COUNSEL EYES ONLY,” EA must affix the legend “EA HIGHLY

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                                                     [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                GOVERNING DISCOVERY FROM ELECTRONIC ARTS INC.
                       CASE NOS. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 32 of 33



 1   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” to each page of any document for

 2   which EA seeks protection under this Supplemental Protective Order.”

 3          2.      Disclosure of “EA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

 4   ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in writing by

 5   EA, a Party may disclose any information or item designated “EA HIGHLY CONFIDENTIAL –

 6   OUTSIDE COUNSEL EYES ONLY” only to:

 7                          (a)     the Party’s Outside Counsel of Record in the Litigations, as well as

 8   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

 9   information for these Litigations and who have signed the “Acknowledgement and Agreement to
10   be Bound” that is attached to the Protective Order as Exhibit A;

11                          (b)     Designated House Counsel of the Party, but only in the event that (i)

12   information designated “EA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”

13   is incorporated into and necessary to a Party’s work product that is to be filed or served in these

14   Litigations; (ii) the Party discloses to EA the relevant excerpts from the work product that include

15   the information designated “EA HIGH CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”

16   prior to disclosure to Designated House Counsel of the Party; (iii) the Party identifies by name and

17   job title the Designated House Counsel with whom such work product will be shared for the

18   purpose of reviewing and approving the work product in advance of filing or service; and (iv) EA

19   provides consent to the disclosure, which shall not unreasonably be withheld;
20                          (c)     Party Experts (as defined in this Supplemental Protective Order) (1)

21   to whom disclosure is reasonably necessary for these Litigations and (2) who have signed the

22   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

23                          (d)     the Court and its personnel;

24                          (e)     court reporters and their staff, professional jury or trial consultants,

25   and Professional Vendors to whom disclosure is reasonably necessary for these Litigations and who

26   have signed the “Acknowledgment and Agreement to be Bound” (Exhibit A); and
27                          (f)     the author or recipient of a document containing the information.

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                                                     3
                                                     [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                GOVERNING DISCOVERY FROM ELECTRONIC ARTS INC.
                       CASE NOS. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 833 Filed 11/18/21 Page 33 of 33



 1          3.      All other provisions of the Protective Order, including Paragraphs 2, 3, 4, 5.3, 6, 7.1,

 2   9, 10, 11, 12, 13, and 14 apply mutatis mutandis to information designated “EA HIGHLY

 3   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” to the same extent as they apply to

 4   information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY;” except

 5   that the provision in Paragraph 3 of the Protective Order providing that any use of Protected

 6   Material at trial shall be governed by a separate agreement or order shall not apply to information

 7   designated “EA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” Unless

 8   otherwise ordered by the Court or expressly permitted by EA, no Party seeking to introduce

 9   documents or information designated “EA HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL
10   EYES ONLY” into the record at trial may disclose the materials to any persons other than those

11   identified in Paragraph C.2. of this Supplemental Protective Order. In the event a Party seeks to

12   introduce documents or information designated “EA HIGHLY CONFIDENTIAL – OUTSIDE

13   COUNSEL EYES ONLY” at trial in a manner that will result in disclosure to persons other than

14   those specified in Paragraph C.2 of this Supplemental Protective order, the Party shall promptly

15   notify in writing the EA such that EA may raise any objection.

16          IT IS SO ORDERED.

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     DATED: November _____, 2021
19
                                              HON. YVONNE GONZALEZ ROGERS
20                                            United States District Court Judge
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                                                     [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                GOVERNING DISCOVERY FROM ELECTRONIC ARTS INC.
                       CASE NOS. 4:11-CV-06714-YGR-TSH; 4:19-CV-03074-YGR-TSH; 4:20-CV-05640-YGR-TSH
